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 6                        UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF CALIFORNIA
 8   CALIFORNIA DAIRIES INC.,               1:08-CV-00790 OWW GSA
 9                        Plaintiff,        ORDER RE DEFENDANT’S MOTION
10                                          FOR TO DISMISS (DOC. 10)
                    v.
11   RSUI INDEMNITY CO.,
12                        Defendant.
13
14
15                              I.   INTRODUCTION

16        This case concerns a directors and officers liability

17   insurance policy (“the Policy”) issued to Plaintiff, California

18   Dairies, Inc. (“CDI”), by RSUI Indemnity Company (“RSUI”).         RSUI

19   denied coverage for claims asserted against CDI in a class action

20   filed in Tulare County Superior Court, Gonzalez v. CDI, Case No.

21   08-226450 (“Gonzalez” or the “Underlying Action”), in which

22   employees and former employees of CDI allege CDI violated various

23   provisions of the California Labor Code (“CLC”) concerning wages,

24   hours, and related matters.

25        RSUI initially denied coverage based on three different

26   exclusionary provisions.    Upon the insured’s request for

27   reconsideration, RSUI based the denial solely on Exclusion 4 of

28   the Policy, which excludes coverage for “violation of any of the

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 1   responsibilities, obligations or duties imposed by ... the Fair
 2   Labor Standards Act ... or any similar provision of federal,
 3   state or local statutory law or common law....”       CDI then filed
 4   this action seeking declaratory relief regarding coverage under
 5   the Policy.
 6
 7                              II.   BACKGROUND
 8        A.   The Underlying Gonzalez Lawsuit.
 9        On January 4, 2008, Walter Gonzalez filed a class action
10   complaint against CDI in Tulare County Superior Court.        Complaint
11   ¶7; see Defendant’s Request for Judicial Notice, Doc. 12, Ex. B
12   (“Gonzalez Compl.”).1   The Gonzalez Complaint alleges causes of
13   action for: 1) failure to pay minimum wage; 2) failure to pay
14   regular and overtime wages; 3) failure to provide mandated meal
15   periods or pay an additional hour of wages; 4) failure to provide
16   mandated rest periods or pay an additional hour of wages; 5)
17   failure to reimburse employees for costs incurred to acquire
18   and/or maintain company-required uniforms; 6) knowing and
19   intentional failure to comply with itemized wage statement
20   provisions; and 7) failure to timely pay wages due at
21   termination.   Compl. at ¶7; Gonzalez Compl. (alleging violations
22   of CLC §§ 200, 201, 202, 203, 204, 218, 218.6, 221, 223, 226.7,
23   500, 510, 512, 1194, 1194.2, & 2802.)      The Gonzalez Complaint
24   also alleges that CDI violated California’s Unfair Competition
25   Law, Cal. Bus. Prof. Code § 17200, et seq., as a result of CDI’s
26
          1
27             A court may take judicial notice of the authenticity
     and existence of pleadings in other actions. See United States
28   v. S. Cal. Edison Co., 300 F. Supp. 2d 964, 973 (E.D. Cal. 2004).

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 1   alleged violations of the CLC.        Id.   No violation of the FLSA was
 2   alleged.     Id.
 3
 4          B.    The Relevant Terms and Conditions of the Policy.
 5          California Dairies is the named Insured, as the “Insured
 6   Organization” under the Policy.        Compl. ¶5.    Under the Policy’s
 7   Insuring Agreement set forth at Section I(C), RSUI agrees:
 8                With the Insured Organization that if a Claim for a
                  Wrongful Act is first made against the Insured
 9                Organization during the Policy Period and reported in
                  accordance with SECTION V. – CONDITIONS, C. Notice of
10                Claim and Circumstance of this policy, the Insurer will
                  pay on behalf of the Insured Organization all Loss the
11                Insured Organization is legally obligated to pay.
12   See Defendant’s Request to Submit Evidence, Doc. 11, at p. 32 of
13   44 (underlined text is bold in original).2
14          The Policy does not contain a duty to defend, but instead
15   contains a duty to reimburse defense costs.          Id. at p. 11 of 44
16   (Advancement of Defense Expenses; Insurer Has No Duty to Defend).
17          “Insured” is defined at Section III(G) of the Policy as “any
18   Insured Organization and/or any Insured Person.”          Id. at p. 34 of
19   44.    “Insured Organization” is defined as “the organization named
20   in Item 1 of the Declarations Page....”         Id. (Section III(H)).
21   “Insured Person” is “any past, present or future director,
22   officer, trustee, Employee, volunteer, or any committee member of
23
24          2
               Although generally a district court may not consider
25   material beyond the pleadings on a Rule 12(b)(6) motion, a
     document to which the complaint specifically refers may be
26   considered if its authenticity is not questioned. Inlandboatmens
27   Union of Pac. v. Dutra Group., 279 F.3d 1075, 1083 (9th Cir.
     2002). Here, as the authenticity of the Policy presented by
28   Defendants is not questioned, it may be considered.

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 1   a duly constituted committee of the Insured Organization.”         Id.
 2   (Section III(I)).   “Employee” is defined as “any past, present or
 3   future employee of the Insured Organization....”       Id. (Section
 4   II(D)).   “Employment Practices Claim” is “any Claim alleging an
 5   Employment Practices Wrongful Act.”      Id. at p. 33 of 44 (Section
 6   II(E)).
 7        An “Employment Practices Wrongful Act” is defined at Section
 8   II(F) of the Policy as any actual or alleged:
 9              1.   Wrongful dismissal, discharge or termination
                (either actual or constructive) of employment,
10              including breach of an implied employment contract;
11              2.   Employment related harassment (including but not
                limited to sexual harassment);
12
                3.   Employment-related discrimination (including but
13              not limited to discrimination based on age, gender,
                race, color, national origin, religion, sexual
14              orientation or preference, pregnancy or disability);
15              4.    Employment-related retaliation;
16              5.   Employment-related misrepresentation to an
                Employee or applicant for employment with the Insured
17              organization;
18              6.   Libel, slander, humiliation, defamation or
                invasion of privacy (solely when employment related);
19              7.   Wrongful failure to promote;
20              8.   Wrongful deprivation of career opportunity,
                wrongful demotion or negligent Employee evaluation,
21              including giving defamatory statements in connection
                with an Employee reference;
22
                9.    Employment related wrongful discipline;
23
                10.   Failure to grant tenure or practice privileges;
24
                11. Failure to provide or enforce adequate and
25              consistent organization policies or procedures relating
                to employment;
26
                12. Violations of the following federal laws (as
27              amended) including all regulations promulgated
                thereunder: a. Family and Medical leave Act of 1993; b.
28              Americans with Disabilities Act of 1992 (ADA); c. Civil

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 1                Rights Act of 1991; d. Age Discrimination in Employment
                  Act of 1967 (ADEA), including the Older Workers Benefit
 2                Protection Act of 1990; or e. Title VII of the Civil
                  Rights Law of 1964 (as amended) and 42 U.S.C. Section
 3                1983, as well as the Pregnancy Discrimination Act of
                  1978;
 4
                  13. Violation of an Insured Person's civil rights
 5                relating to any of the above; or
 6                14. Negligent hiring, retention, training or
                  supervision, infliction of emotional distress, failure
 7                to provide or enforce adequate or consistent
                  organizational polices and procedures, or violation of
 8                an individual's civil rights, when alleged in
                  conjunction with respect to any of the foregoing items
 9                1 through 13.
10   Id.
11          C.    The Relevant Exclusions of the Policy.
12          The Policy also contains a number of specific exclusions,
13   two of which are at issue in this case.         The Policy provides that
14   the Insurer shall not be liable to make any payment for “Loss” in
15   connection with any “Claim” made against the “Insured”:
16                4. For violation of any of the responsibilities,
                  obligations or duties imposed by the Employees
17                Retirement Income Security Act of 1974, the Fair Labor
                  Standards Act (except the Equal Pay Act), the National
18                Labor Relations Act, the Worker Adjustment and
                  Retraining Notification Act, the Consolidated Omnibus
19                Budget Reconciliation Act, the Occupational Safety &
                  Health Act, any rules or regulations of any of the
20                foregoing promulgated thereunder, and amendments
                  thereto or any similar provision of federal, state or
21                local statutory law or common law; provided this
                  EXCLUSION shall not apply to Loss arising from a Claim
22                for employment related retaliation.
23                                        ***
24                7. Brought by or on behalf of any Insured,
                  except:...(b) an Employment Practices Claim brought by
25                an Insured Person...”
26   Id. at p. 35 of 44 (underlined words bolded in original; italic
27   emphasis added).      The Policy defines “Loss” at Section II(K) as
28   follows:

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 1              Loss means damages (including back pay and front pay),
                settlement, judgments (including pre- and post-judgment
 2              interest on a covered judgment) and Defense Expenses.
                Loss (other than Defense Expenses) shall not
 3              include:... 5. Any amounts owed as wages to any
                Employee, other than front pay or back pay; 6. Civil or
 4              criminal fines or penalties.
 5   Id. at p. 34 of 44 (underlined words bolded in original).
 6
 7        D.    Tender of Claim and Response Thereto.
 8        On February 15, 2008, CDI tendered the Gonzalez action to
 9   RSUI pursuant to the Policy.      Compl. at ¶10.   On March 3, 2008,
10   RSUI denied coverage, asserting three specific exclusionary
11   provisions.   Id. at ¶11.   RSUI did not assert Exclusion 7 as a
12   basis to deny coverage.     Id.   On May 5, 2008, CDI requested that
13   RSUI reconsider its denial of the claim.      Id. at ¶12.    On May 14,
14   2008, RSUI conceded that two of the previously asserted
15   exclusionary provisions (grounds) would not apply, absent a final
16   and specific adjudication of certain conduct as against CDI.            Id.
17   at ¶14.   The only exclusionary provision RSUI relied on to deny
18   coverage outright for the claim was Exclusion 4.       Id.
19
20                        III.   STANDARD OF DECISION
21        Federal Rule of Civil Procedure 12(b)(6) provides that a
22   motion to dismiss may be made if the plaintiff fails “to state a
23   claim upon which relief can be granted.”      In deciding whether to
24   grant a motion to dismiss, the court “accept[s] all factual
25   allegations of the complaint as true and draw[s] all reasonable
26   inferences” in the light most favorable to the nonmoving party.
27   TwoRivers v. Lewis, 174 F.3d 987, 991 (9th Cir. 1999); see also
28   Rodriguez v. Panayiotou, 314 F.3d 979, 983 (9th Cir. 2002).

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 1   “To avoid a Rule(b)(6) dismissal, a complaint need not contain
 2   detailed factual allegations; rather, it must plead ‘enough facts
 3   to state a claim to relief that is plausible on its face.’”
 4   Weber v. Dept. of Veterans Affairs, 521 F.3d 1061 (9th Cir. 2008)
 5   (citing Bell Atlantic v. Twombly, 127 S. Ct 1955, 1974 (2007)
 6   (rejecting interpretation of Rule 8 that permits dismissal only
 7   when plaintiff can prove “no set of facts” in support of his
 8   claim).   A court is not “required to accept as true allegations
 9   that are merely conclusory, unwarranted deductions of fact, or
10   unreasonable inferences.”    Sprewell v. Golden State Warriors, 266
11   F.3d 979, 988 (9th Cir. 2001).
12
13                               IV.   ANALYSIS
14        A.    Interpretation of Insurance Policies in California.
15        Interpretation of an insurance policy is a question of law
16   and follows the general rules of contract interpretation.
17   MacKinnon v. Truck Ins. Exch., 31 Cal. 4th 635, 647-48 (2003).
18              The fundamental rules of contract interpretation are
                based on the premise that the interpretation of a
19              contract must give effect to the “mutual intention” of
                the parties....Such intent is to be inferred, if
20              possible, solely from the written provisions of the
                contract.
21
     Id. (citing Cal. Civ. Code § 1639).      The “clear and explicit”
22
     meaning of policy provisions, interpreted in their “ordinary and
23
     popular sense,” controls, unless the terms are “used by the
24
     parties in a technical sense or a special meaning is given to
25
     them by usage.”   Id. (citing Cal. Civ. Code § 1644).3
26
27        3
               Under most circumstances, when interpreting policy
28   provisions, undefined terms should be interpreted as laymen would

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 1        A policy provision will be considered ambiguous “when it is
 2   capable of two or more constructions, both of which are
 3   reasonable.”   Id.   “But language in a contract must be
 4   interpreted as a whole, and in the circumstances of the case, and
 5   cannot be found to be ambiguous in the abstract.”        Id.
 6        In addition to applying general rules of contract
 7   interpretation, insurance agreements are interpreted broadly in
 8   favor of the policyholder.    Montrose Chem. Corp. v. Admiral Fin.
 9   Co., 10 Cal. 4th 645, 667 (1995).      In keeping with this general
10   rule,
11             [I]nsurance coverage is interpreted broadly so as to
               afford the greatest possible protection to the insured,
12             whereas exclusionary causes are interpreted narrowly
               against the insurer. An insurer cannot escape its basic
13             duty to insure by means of an exclusionary clause that
               is unclear. As we have declared time and again any
14             exception to the performance of the basic underlying
               obligation must be so stated as clearly to apprise the
15             insured of its effect. Thus, the burden rests upon the
               insurer to phrase exceptions and exclusions in clear
16             and unmistakable language. The exclusionary clause
               must be conspicuous, plain and clear.
17
     MacKinnon, 31 Cal. 4th 635 (emphasis in original).
18
          The overall approach that emerges from these doctrines is
19
     articulated in Spangle v. Farmers Ins. Exch., 166 Cal. App. 4th
20
     560, 567 (2008):
21
22
23   read them, not as they might be analyzed by an attorney or
24   insurance expert. Lebas Fashion Imports of USA Inc. v. ICT
     Harftord Ins. Group, 50 Cal. App. 4th 548, 559 (1996).
25   Dictionary definitions may be useful, but a court must not “make
     a fortress out of the dictionary,” by disregarding the policy’s
26   context. MacKinnon, 31 Cal. 4th at 649. Rather, a court must
27   “put itself in the position of a layperson and understand how he
     or she might reasonably interpret the exclusionary language.”
28   Id.

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 1             If an asserted ambiguity is not eliminated by the
               language and context of the policy, courts then invoke
 2             the principle that ambiguities are generally construed
               against the party who caused the uncertainty to exist
 3             (i.e. the insurer) in order to protect the insured’s
               reasonable expectation of coverage.
 4
     (internal citations and quotations omitted).
 5
          The absence from a policy of a definition of a word or
 6
     phrase does not by itself necessarily create an ambiguity.         Bay
 7
     Cities Paving & Grading, Inc. v. Lawyers’ Mutual Ins. Co., 5 Cal.
 8
     4th 854, 867 (1993).
 9
               Any rule that rigidly presumed ambiguity from the
10             absence of a definition would be illogical and
               unworkable. To avoid ... ambiguity... , an insurer
11             would have to define every word in its policy, the
               defining words would themselves then have to be
12             defined, their defining words would have to be defined,
               and the process would continue to replicate itself
13             until the result became so cumbersome as to create
               impenetrable ambiguity.
14
     Id. at 865.   Even when interpreting insurance policies, a court
15
     must look to the common understanding of the language, with an
16
     eye to reasonableness and context.     Id. at 867.
17
               First, an insurance policy provision is ambiguous when
18             it is capable of two or more constructions both of
               which are reasonable. Courts will not adopt a strained
19             or absurd interpretation in order to create an
               ambiguity where none exists. Second, [l]anguage in a
20             contract must be construed in the context of that
               instrument as a whole, and in the circumstances of that
21             case, and cannot be found to be ambiguous in the
               abstract. There cannot be an ambiguity per se, i.e., an
22             ambiguity unrelated to an application.
23   Id. (internal citations and quotations omitted)(emphasis added).
24   “Multiple or broad meanings do not necessarily create ambiguity.”
25   Id. at 868.   “A word with a broad meaning or multiple meanings
26   may be used for that very reason - its breadth - to achieve a
27   broad purpose.”   Id.
28        The reasoning in Bay Cities is instructive.       In that case,

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 1   the California Supreme court interpreted a professional liability

 2   insurance policy containing a provision limiting coverage to a

 3   maximum of $250,000 “for each claim.”     The policy further

 4   provided that, “Two or more claims arising out of a single act,

 5   error or omission or a series of related acts, errors or

 6   omissions shall be treated as a single claim.”       Id. at 857.

 7   Applying the general principles of insurance policy

 8   interpretation articulated above, the Bay Cities court reasoned:

 9             “Related” is a commonly used word with a broad meaning
               that encompasses a myriad of relationships. For
10             example, a leading legal dictionary defines “related”
               to mean “standing in relation; connected; allied;
11             akin.” (Black's Law Dict. (6th ed. 1990) p. 1288, col.
               1.) Similarly, a legal thesaurus lists many synonyms
12             for “related.” (Burton, Legal Thesaurus (1980) p. 925,
               col. 2.) In a coverage case (not involving a claim
13             limitation), the court observed that “related” can
               denote a causal connection as well as the “notion of
14             similarity.” (O'Doan v. Insurance Co. of North America
               (1966) 243 Cal.App.2d 71, 78.)
15
               Although “related” is broad enough to encompass both
16             logical as well as causal relationships, the Court of
               Appeal incorrectly found an inherent ambiguity.
17             Multiple or broad meanings do not necessarily create
               ambiguity. For example, assume that an insurance policy
18             excluded coverage for any claim arising from the
               operation of a “motor vehicle.” Obviously, a “motor
19             vehicle” could be either an automobile or a truck, but
               that does not mean it must be only one or the other,
20             rather than both. Likewise here, the fact that
               “related” can encompass a wide variety of relationships
21             does not necessarily render the word ambiguous. To the
               contrary, a word with a broad meaning or multiple
22             meanings may be used for that very reason-its
               breadth-to achieve a broad purpose. We need not,
23             however, belabor the question of whether “related” is
               ambiguous in the abstract or in some hypothetical
24             circumstance. That is not the question.

25             The proper question is whether the word is ambiguous in
               the context of this policy and the circumstances of
26             this case. (Bank of the West v. Superior Court, supra,
               2 Cal.4th 1254, 1265.) The provision will shift between
27             clarity and ambiguity with changes in the event at
               hand. (O'Doan v. Insurance Co. of North America, supra,
28             243 Cal.App.2d 71, 77.) The linchpin of Bay Cities’

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 1             argument is that “related” is ambiguous because it
               could have either a broad meaning, for example, meaning
 2             all services rendered by the attorney in connection
               with this particular matter, or, alternatively, a
 3             narrower meaning, that is, only those acts by the
               attorney that are causally related. The precise and
 4             narrow question is thus whether “related” in an
               attorney’s professional liability insurance policy is
 5             ambiguous because the word is reasonably susceptible to
               both of these meanings.
 6
     Id. at 868 (parallel citations omitted).
 7
          Here, the proper inquiry is whether the Policy language,
 8
     specifically the word “similar,” when viewed in the context of
 9
     Policy’s overall structure and the circumstances of this case, is
10
     reasonably susceptible to the interpretation advanced by CDI.
11
     Although CDI does not clearly articulate a suggested
12
     interpretation, its legal position implies an interpretation of
13
     “similar” that means “identical” or “alike.”      Only if the Policy
14
     language is deemed ambiguous does a court interpret that language
15
     against the insurer.
16
17
          B.   Is the Term “Similar” in Exclusion 4 Ambiguous?
18
          RSUI relied upon Exclusion 4 to deny coverage in this case,
19
     which provides that the “Insurer” will not be liable for “Loss”
20
     in connection with any “Claim” made against the “Insured”:
21
               4. For violation of any of the responsibilities,
22             obligations or duties imposed by the Employees
               Retirement Income Security Act of 1974, the Fair Labor
23             Standards Act (except the Equal Pay Act), the National
               Labor Relations Act, the Worker Adjustment and
24             Retraining Notification Act, the Consolidated Omnibus
               Budget Reconciliation Act, the Occupational Safety &
25             Health Act, any rules or regulations of any of the
               foregoing promulgated thereunder, and amendments
26             thereto or any similar provision of federal, state or
               local statutory law or common law; provided this
27             EXCLUSION shall not apply to Loss arising from a Claim
               for employment related retaliation.
28

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 1   Doc. 11 at p. 35 of 44 (underlined text bold in original; italic

 2   emphasis added).      RSUI maintains that the provisions of the CLC

 3   relied upon by the Gonzalez plaintiffs are “similar” to the Fair

 4   Labor Standards Act (“FLSA”), triggering operation of Exclusion

 5   4.    CDI argues that the term “similar” is ambiguous and therefore

 6   must be interpreted in favor of the insured.

 7          No court within California has addressed the specific issue

 8   of whether the FLSA and California wage and hour laws codified in

 9   the CLC are “similar” for purposes of interpreting an insurance

10   policy.    RSUI argues that, in the context of the Policy, the term

11   “similar” should be interpreted according to its dictionary

12   definition as “having characteristics in common,” citing

13   Merriam-Webster Online Dictionary (ed. 2008).

14          In support of its position that the exclusion applies here,

15   RSUI cites Payless Shoesource, Inc. v. Travelers Companies, Inc.,

16   569 F. Supp. 2d 1189 (D.C. Kan. 2008), in which the insured

17   sought coverage for a class action lawsuit alleging: (a) recovery

18   of unpaid wages and penalties and failure to pay wages at the

19   time of separation, in violation of the CLC; as well as

20   (b) unfair business practices.       The insurer denied coverage based

21   on the following exclusion:

22               The Insurer shall not be liable for Loss on account of
                 any Claim made against any Insured:
23
                 ...for an actual or alleged violation of the Fair Labor
24               Standards Act (except the Equal Pay Act), the National
                 Labor Relations Act, the Worker Adjustment and
25               Retraining Notification Act, the Consolidated Omnibus
                 Budget Reconciliation Act of 1985, the Occupational
26               Safety and Health Act, the Employee Retirement Income
                 Security Act of 1974, any workers’ compensation,
27               unemployment insurance, social security, or disability
                 benefits law, other similar provisions of any federal,
28               state, or local statutory or common law or any

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 1                  amendments, rules or regulations promulgated under any
                    of the foregoing; provided, however, this exclusion
 2                  shall not apply to any Claim for any actual or alleged
                    retaliatory treatment on account of the exercise of
 3                  rights pursuant to any such law, rule or regulation.

 4   Id. at 1193 (emphasis added).        The insurer argued that the

 5   exclusion negated coverage because the alleged CLC violations and

 6   the FLSA were “similar.”       Id.   Payless argued, among other

 7   things, that the exclusionary language was ambiguous, and that

 8   the claims in the underlying litigation were not similar enough

 9   to FLSA claims to be covered by the exclusion.4       Id. at 1196.      In

10   arguing for a finding of ambiguity, Payless relied on the “last

11   antecedent rule,” arguing that the exclusionary language “other

12   similar provisions of any federal, state, or local statutory or

13   common law or any amendments, rules or regulations promulgated

14   under any of the foregoing” applied only to the immediately

15   preceding language “any workers’ compensation, unemployment

16   insurance, social security, or disability benefits law.”           Id. at

17   1197.       The Payless court rejected this argument, reasoning:

18                  The plain meaning of [the] language, which would be
                    apparent to any reasonably prudent insured, is that the
19                  modifier applies to each item in the preceding
                    series.... These strong indicia of meaning overcome the
20                  need to utilize the last antecedent rule.

21   Id.

22         The Payless court next examined Payless’ argument that the

23   exclusionary language -- “other similar provisions of any

24   federal, state, or local statutory or common law or any

25
26           4
               To interpret the policy provisions, the Payless court
27   applied Kansas law, which follows an analytical framework
     essentially identical to that used in California. Id. at 1195-
28   96.

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 1   amendments, rules or regulations promulgated under any of the

 2   foregoing” -- should be interpreted to apply to “similar

 3   provisions ... of state ... law,” rather than “similar ... state

 4   ... law[s].”    Id. at 1198 (emphasis added).    More specifically,

 5   Payless argued that the exact provisions raised in the underlying

 6   litigation regarding rest and meal breaks and overtime pay by

 7   day, rather than by week, exist only in the CLC, not the FLSA.

 8   Id.   The defendant insurer responded “that the California wage

 9   and hour provisions are ‘similar’ to the FLSA and that they need

10   not be identical to the FLSA in order to be covered by the

11   exclusion.”    Id.   The Payless court agreed:

12              The FLSA requires employers to pay their employees who
                are engaged in interstate commerce at least time and a
13              half for any hours worked in excess of forty hours in
                any workweek. Rest periods of short duration are
14              counted as hours worked under the FLSA, but “bona fide
                meal periods’ are not considered worktime. Plaintiff
15              argues that the FLSA, unlike California law, does not
                require rest periods, meal periods, compensation for
16              either. Plaintiff also focuses on the California
                requirement that overtime be paid for hours worked in
17              excess of eight hours per day rather than the forty
                hour work-week as required by the FLSA. But the
18              provisions of the state law, under the plain language
                of the exclusion, only need be similar and not
19              identical to provisions of the FLSA. Here, while the
                FLSA may not mandate certain rest and meal periods, it
20              does provide for when those periods must be compensated
                for. Moreover, the overtime provisions are
21              undisputedly “similar.” Plaintiff admits that the only
                difference is whether overtime is calculated daily or
22              weekly. Because the exclusion language is not
                ambiguous or unclear, there is no need to construe the
23              language against defendant, the insurer.

24   Id. at 1098-99.

25         The policy language at issue here is similar to that in

26   Payless.

27
28

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 1          Exclusionary Provision                  Exclusionary Provision
                   in Payless                            in this case
 2
     The Insurer shall not be liable for     The Insurer shall not be liable to
 3   Loss on account of any Claim made       make any payment for “Loss” in
     against any Insured: “...for an         connection with any “Claim” made
 4   actual or alleged violation of the      against the “Insured”: “For violation
     Fair Labor Standards Act (except the    of any of the responsibilities,
 5   Equal Pay Act), the National Labor      obligations or duties imposed by the
     Relations Act, the Worker Adjustment    Employees Retirement Income Security
 6   and Retraining Notification Act, the    Act of 1974, the Fair Labor Standards
     Consolidated Omnibus Budget             Act (except the Equal Pay Act), the
 7   Reconciliation Act of 1985, the         National Labor Relations Act, the
     Occupational Safety and Health Act,     Worker Adjustment and Retraining
 8   the Employee Retirement Income          Notification Act, the Consolidated
     Security Act of 1974, any workers’      Omnibus Budget Reconciliation Act,
 9   compensation, unemployment insurance,   the Occupational Safety & Health Act,
     social security, or disability          any rules or regulations of any of
10   benefits law, other similar             the foregoing promulgated thereunder,
     provisions of any federal, state, or    and amendments thereto or any similar
11   local statutory or common law or any    provision of federal, state or local
     amendments, rules or regulations        statutory law or common law; provided
12   promulgated under any of the            this EXCLUSION shall not apply to
     foregoing; provided, however, this      Loss arising from a Claim for
13   exclusion shall not apply to any        employment related retaliation.
     Claim for any actual or alleged
14   retaliatory treatment on account of
     the exercise of rights pursuant to
15   any such law, rule or regulation.

16        CDI argues that the Payless decision should be given
17   limited, if any, weight because of “the brevity of the court’s
18   analysis.”   Doc. 17 at 20.     CDI cites Morillon v. Royal Packing
19   Co., 22 Cal. 4th 575 (2000), for the proposition that the
20   California Supreme Court demands a “cautioned, deliberate
21   analysis” when evaluating the similarity of the FLSA to the CLC.
22   Doc. 17 at 20.    But, Morillon is not on point.         The passage CDI
23   cites addresses the weight a California court should give federal
24   authority when interpreting a California wage order.            Id. at 588.
25   To determine the weight that should be afforded federal authority
26   under such circumstances, a court must carefully examine “what
27   aspect or characteristic of these two extensive statutory schemes
28

                                         15
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 1   make their thrusts similar.”      Id. at 588.   In Morillion, the

 2   California Supreme Court was concerned with whether, in

 3   interpreting a California wage order, California court should

 4   follow federal precedent interpreting the FLSA.        Morillion noted

 5   that “in discussing federal authority ... the Court of Appeal

 6   failed to compare the federal definition of ‘hours worked’ to the

 7   state definition under Wage Order No. 14-80. While one of our

 8   lower courts has recognized the ‘parallel’ nature of the federal

 9   and state definitions of ‘hours worked’ [citation], the [Division

10   of Labor Standards Enforcement] has underscored the substantial

11   differences between the federal and state definitions in numerous

12   advice letters.”    Id. at 589.   The Morillion court eventually

13   declined to decide the propriety of considering the federal

14   authority, reasoning:

15             [W]e do not believe the similarity or differences
               between the two definitions of “hours worked” is
16             dispositive of whether plaintiffs' compulsory travel
               time is compensable under state law. Instead, we find
17             that the Portal-to-Portal Act, which expressly and
               specifically exempts travel time as compensable
18             activity under the FLSA (29 U.S.C. § 254), should be
               the focus of our comparative analysis.
19
     Id.   Morillion does not undermine the persuasiveness of Payless,
20
     in which the court gave full consideration to the necessary
21
     principles of contract interpretation.5
22
23         5
               CDI makes two additional arguments concerning Payless.
24   First, CDI notes that, in Payless, the plaintiff admitted that
     the only difference between the CLC and FLSA overtime provision
25   “is whether overtime is calculated daily or weekly.” 569 F.
     Supp. 2d at 1199. CDI emphasizes that it is making no such
26   concession. In addition, CDI correctly points out that the
27   Payless court did not evaluate each of the California laws that
     serve as the basis for the Gonzalez action. These arguments go
28   to whether or not the relied-upon provisions of the CLC are or

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 1        Further support for a finding that Exclusion 4 is not

 2   ambiguous comes from Farmers Auto. Ins. Ass'n v. St. Paul Mercury

 3   Ins. Co., 482 F.3d 976 (7th Cir. 2007), a case cited with

 4   approval in Payless, 569 F. Supp. 2d at 1199.      In Farmers, the

 5   insured sought coverage for a class action claim seeking overtime

 6   compensation under the Illinois Minimum Wage Law.       The insurer

 7   denied coverage based on an exclusion in its policy for:

 8             any actual or alleged violation of the Fair Labor
               Standards Act (except the Equal Pay Act), the National
 9             Labor Relations Act, the Worker Adjustment and
               Retraining Notification Act, the Consolidated Omnibus
10             Reconciliation Act of 1983, the Occupational Safety and
               Health Act, any workers compensation, unemployment
11             insurance, social security, or disability benefits law,
               other similar provisions of any federal, state, or
12             local statutory or common law or any rules or
               regulations promulgated under any of the foregoing.
13
     Id. at 977 (emphasis added).
14
          Finding that state wage and hour provisions are similar to
15
     the FLSA, the Seventh Circuit stated, “the language [of the
16
     policy] is not addressed to the average person, but to employers,
17
     and they know what the Fair Labor Standards Act is, know there
18
     are state counterparts, and could not think they’d bought
19
     insurance that would enable them to disregard the state overtime
20
     provisions.”   Id. at 979.   The Seventh Circuit emphasized that
21
     the purpose of the exclusionary language, equally applicable to
22
     both statutes, “is to avoid ‘moral hazard,’ which, in its most
23
     extreme form, is the temptation of an insured to precipitate the
24
     event insured against if the insurance goes beyond merely
25
     replacing a loss.”   Id.
26
27
     are not “similar” to the FLSA. They have nothing to do with
28   whether or not Exclusion 4 is ambiguous.

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 1              Insurance against a violation of an overtime law,
                whether federal or state, would enable the employer to
 2              refuse to pay overtime and then invoke coverage so that
                the cost of the overtime would come to rest on to the
 3              insurance company. The employer would have violated the
                overtime law with impunity, unjustly enriching itself
 4              by the difference between the overtime wage for the
                hours in question and the straight wage. No insurance
 5              company would knowingly write a policy that would
                enable the insured to trigger coverage any time it
 6              wanted a windfall.

 7   Id.

 8         CDI is correct that Farmers concluded that the Illinois

 9   Minimum Wage Law and the FSLA impose the “identical requirement

10   except that [the Illinois law] is not limited to employers who

11   operate in interstate commerce.”       Id. at 978.   CDI also correctly

12   asserts that “the Farmers court was never required to determine

13   whether two laws that, while both dealing with the concept of

14   minimum wage, treat the issue in vastly different ways as in the

15   instant case....”   Doc. 17 at 22.      Farmers is distinguishable in

16   that the policyholder was an insurance company that used the term

17   “similar” throughout its own policies.       Farmers, 482 F.3d at 978.

18   Farmers is not direct authority aiding interpretation of the

19   exclusionary language in this case.

20         Nonetheless, the Seventh Circuit’s articulation of the

21   purpose of similar exclusionary language is relevant.        Farmers

22   was concerned that insured employers would purposefully not pay

23   overtime or other wages due, reaping a windfall if they were

24   later called to account and their policies were interpreted to

25   require the Insurer to pay any wages due.      In this light, CDI’s

26   proffered interpretation of Exclusion 4, as applicable only to

27   claims brought under provisions of the CLC that are identical (or

28   nearly identical) to provisions in the FLSA, is not reasonable

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 1   and supports insured conduct violative of public policy.        The

 2   result would be that the insured could violate any provision of

 3   the CLC which would trigger coverage, creating a windfall.

 4        CDI argues the “moral hazard” discussion in Farmers is

 5   unpersuasive, because it “places a burden of policy

 6   interpretation on the policyholder that is not in keeping with

 7   California’s well-established laws requiring that insurance

 8   policies be construed against the insurer.”      Doc. 17 at 23.    This

 9   exalts a rule of interpretation over a stronger public policy of

10   discouraging labor law violations, and minimizes the doctrine

11   that a policy is only construed against the insurer when the

12   policy language is ambiguous and the ambiguity is not eliminated

13   by the language and context of the policy.      See Spangle, 166 Cal.

14   App. at 567.    Where, as here, the Policy explicitly and clearly

15   excludes coverage for a certain category of unlawful acts, the

16   exclusion is enforceable.    See General Reinsurance Corp. v. St.

17   Jude Hospital, 107 Cal. App. 4th 1097, 1107-108 (2003).6

18        CDI cites a number of factually distinguishable cases where

19   an insurer’s use of the term “similar” was found to be inherently

20   ambiguous and the inherent ambiguity was resolved in favor of the

21   policyholder.   In Motor’s Insurance Corporation v. Bodie, 770 F.

22
23        6
               CDI suggests that the Policy expressly covers wage and
24   hour violations because it provides coverage for “front and back
     pay.” Specifically, Section III(K)(5) excludes from the
25   definition of “Loss” “any amounts owed as wages to any Employee,
     other than front pay or back pay.” CDI completely ignores the
26   thrust of this provision, which is to exclude wages owed to any
27   Employee. The terms “front” and “back” pay are terms of art
     commonly used in the context of discrimination claims, which are
28   covered Employment Practices Wrongful Acts.

                                       19
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 1   Supp. 547 (E.D. Cal. 1991), the insurer argued that the

 2   policyholder’s automobile coverage had automatically terminated

 3   under a clause that provided:

 4             If you obtain other insurance on “your covered auto,”
               any similar insurance provided by this policy will
 5             terminate as to that auto on the effective date of the
               other insurance.
 6
     Id. at 548 (emphasis added).    The insurer argued that when the
 7
     policyholder obtained a second insurance policy with another auto
 8
     insurance carrier that listed the subject vehicle as covered, the
 9
     automatic termination provision in the first policy was triggered
10
     because the second policy was “similar” to the first policy.        Id.
11
     Judge Shubb, in a decision not binding upon another district
12
     court, held that the termination provision was not plain and
13
     clear as a matter of law:
14
               The provision only operates to terminate “similar
15             insurance provided by this policy” in the event that
               “[the insured] obtains other insurance on ‘your covered
16             auto.’” “Similar” is not defined by the policy and may
               be used in English to mean the “same” or “identical”
17             though it is defined as “showing some resemblance;
               related in appearance or nature; alike though not
18             identical.” American Heritage Dictionary 1206
               (1979).[FN1] It is difficult to imagine being called
19             upon to interpret a more imprecise term. This inherent
               vagueness fully justifies the conclusion that the term
20             “similar” is ambiguous. Under applicable rules of
               interpretation, therefore, the court cannot interpret
21             “similar” to mean “showing some resemblance” for that
               would be to resolve the ambiguity in favor of the
22             insurer.

23                  FN 1. The full usage note in the American Heritage
                    Dictionary provides: “Similar” is often misused
24                  in nontechnical contexts where same or identical
                    would convey the sense actually intended.
25
     Id. at 550.
26
          That court noted that even though the two disputed insurance
27
     policies were similar in providing for automobile insurance, they
28

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 1   were not “similar” as a matter of law because each policy

 2   contained different limits for third party liability, a

 3   difference that the court considered would be “significant in the

 4   eyes of the insured.”   Id. at 550-51.

 5        Motors and the related cases7 cited by CDI are not

 6   persuasive.   First, assuming, arguendo, that the Motors court was

 7   correct to conclude that the term “similar” is inherently

 8   ambiguous, by interpreting it to mean “the same” or “identical,”

 9   the court did not perform the required analysis (i.e., examining

10   whether the ambiguity is eliminated by the language and context

11   of the policy).   CDI’s implied assertion that “similar” should be

12   defined as the “same” or “identical” defeats the purpose of the

13   exclusionary provision at issue in this case:      to avoid moral

14   hazard.   If “the same” or “identical” were the intended meaning,

15   a narrower, more precise term could have been utilized.        Motors

16   relied heavily on the premise that the differences between the

17   two auto insurance policies, including different limits for third

18   party liability, would have been “significant in the eyes of the

19   insured.”   This focus is misplaced, because there is no social

20
         7
21             CDI points out that the reasoning in Motors has been
     applied in other jurisdictions. See S.C. Farm Bureau Mutual Ins.
22   Co. v. Courtney, 536 S.E. 2d 689, 691-93 (S.C. App. 2000) (citing
     Motors for the proposition that “similar” is ambiguous; rejecting
23   auto insurer’s argument that two policies are sufficiently
24   similar to trigger a terminating clause simply because they both
     provide first party liability insurance); United Fire & Casualty
25   Co. v. Victoria, 576 N.W. 2d 118 (Iowa 1998) (finding the term
     “similar” ambiguous and rejecting auto insurer’s argument that,
26   despite differences between two policies, they are “similar” as a
27   matter of law because they covered the same vehicle and provided
     the same general type of coverage).
28

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 1   utility to interpreting a term to encourage and compensate

 2   unlawful conduct by the insured.

 3        CDI references Caldwell v. Transportation Insurance Company,

 4   364 S.E. 2d 1 (1988), which concerned an exclusion in a drilling

 5   equipment policy.   The policy excluded coverage for:      “property

 6   while in the cofferdams or while below the ground surface in

 7   mining, tunneling or similar operations....”      Id. at 2.    After

 8   the insured’s equipment was damaged while being used to drill

 9   almost 300 feet underground, the insurer denied coverage.        The

10   Virginia Supreme Court found that the exclusion was not

11   sufficiently clear and unambiguous:

12             The well drilling operation was neither “mining,” nor
               “tunneling,” so as to be excluded by the specific terms
13             of clause 2(c) nor does the insurer so contend. Rather,
               insurer and insured debate whether well drilling is a
14             “similar operation” so as to be excluded under the
               general language of that clause. Both similarities and
15             differences are pointed out, and earnestly argued,
               between mining and tunneling, on the one hand, and well
16             drilling on the other. A reasoned argument can be made
               either way, and the existence of such a reasonable
17             difference of opinion is alone sufficient to answer the
               question before us. In Nusbaum, resolving a similar
18             debate concerning the applicability of an exclusionary
               clause, we said:
19
                    Thus, the question in this case is resolved by the
20                  mere fact that reasonable men, including experts
                    on the subject...may reach reasonable, but
21                  opposite, conclusions...It was incumbent upon the
                    insurer to employ exclusionary language clear
22                  enough to avoid any such ambiguity, if it wish to
                    exclude coverage... [citation]
23
               We need not resolve the question whether well drilling
24             is a sufficiently "similar operation" to mining or
               tunneling to come within the ambit of clause 2(c), nor
25             need we resort to the rule ejusdern generis urged by
               the insured, to decide the scope of general language
26             which follows specific terms in a contract. Instead,
               applying the rule of interpretation set forth in
27             Nusbaum, we hold that the language of Clause 2(c) is
               insufficiently precise to excluded coverage of the
28             loss.

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 1   Id. at 3.   This case is not persuasive, as the legal framework

 2   applied by the Virginia Supreme Court is distinguishable from

 3   that applicable in California, where courts are required to

 4   examine whether any ambiguity can be eliminated by the language

 5   and context of the policy.

 6         More relevant is United Pacific Insurance Company v. First

 7   Interstate Bancsystems of Montana, 664 F. Supp. 1390 (1987),

 8   which addressed an excess umbrella policy exclusion for “any

 9   obligation for which the insured or any company as its insurer

10   may be held liable under any workmen’s compensation, occupational

11   disease, unemployment compensation, disability benefits law, or

12   any similar law....”   Id. at 1392 (emphasis added).      The insurer

13   argued that the exclusion applied to preclude coverage for an

14   employee’s effort to obtain compensation for common law wrongful

15   termination under Montana law.    Id. at 1394.

16         CDI relies on United Pacific to bolster its contention that

17   the term “or any similar law,” is ambiguous and should be

18   interpreted in favor of the policyholder.      Doc. 17 at 6-7.

19   However, United Pacific’s actual holding is more nuanced.        It

20   is:   “the policies do not unambiguously exclude coverage for

21   damages such as those alleged in [the employee’s] complaint,” and

22   thereafter strictly construed the policy against the insurer.

23   664 F. Supp. 1394 (emphasis added).     United Pacific found the

24   “any similar law” language was susceptible to the interpretation

25   advanced by the insured, namely that a common law wrongful

26   termination claim did not qualify as a law that was “similar” to

27   laws concerning “workmen’s compensation, occupational disease,

28   unemployment compensation, [and/or] disability benefits....”

                                       23
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 1   Here, by contrast, particularly in light of the purpose of

 2   Exclusion 4, the relevant language -- “any similar provision of

 3   federal, state or local statutory law or common law” -- is not

 4   susceptible to the meaning advanced by CDI, namely that

 5   unenumerated state labor laws must be “identical” to the FLSA to

 6   qualify for the exclusion.

 7          The purpose of Exclusion 4 is to disclaim coverage for

 8   federal, state, and local wage and hour laws, to avoid the moral

 9   hazard problem Farmers discussed.      RSUI observes that the logical

10   extension of CDI’s interpretation “would be that RSUI would have

11   to list every wage and hour law in every state, city and

12   community in the United States, a proposition that is manifestly

13   unworkable and absurd.”    Doc. 18 at 3.    RSUI argues:

14               In addition, to the extent state and local laws change,
                 such changes might not necessarily be embraced under
15               California Dairies’ utterly unworkable approach. The
                 only way for an insurer to accomplish the broad
16               exclusion of claims made under state and local wage and
                 hour laws is by use of the term “similar;” the term
17               “identical,” as California Dairies essentially argues,
                 would not achieve this goal. As such, the term
18               “similar” is proper and serves the purposes of putting
                 insureds on notice that claims made under federal,
19               state and local wage and hour laws are not covered
                 under the Policy.
20
     Id.    This argument is compelling.    The policy language “any
21
     similar provision of federal, state or local statutory law or
22
     common law” is not susceptible to the interpretation advanced by
23
     CDI.    If the CLC contains a provision that has provisions
24
     analogous to those of the FLSA, Exclusion 4 applies.
25
26
     ///
27
     ///
28

                                       24
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 1        C.    Do the Claims Raised in the Gonzalez Action Concern
                Provisions of State Law “Similar” to the FLSA?
 2
                1.    CDI’s Argument that Substantial Differences
 3                    Between the CLC and the FLSA Have Been Recognized
                      in the Caselaw.
 4
          It is undisputed that California labor statutes strive “to
 5
     protect the minimum wage rights of California employees to a
 6
     greater extent than federal law.”      Armenta v. Osmose, Inc., 135
 7
     Cal. App. 4th 314, 324 (2005).    “[T]he state is empowered to go
 8
     beyond the federal statutes and regulations in adopting
 9
     protective laws and regulations for the benefit of employees.”
10
     Id. at 322-23.   As a result, some California courts have held
11
     that “federal authorities are of little assistance, if any, in
12
     construing state laws and regulations that provide greater
13
     protection to workers.”    Id. at 322-23 (emphasis added).
14
          CDI argues that “[i]f the FLSA is of little assistance in
15
     construing those provisions of the Labor Code that provide
16
     greater protection to employees, it can hardly be said that the
17
     FLSA and the Labor Code are ‘similar’ as a matter of law.”        Doc.
18
     17 at 8.   This reads too much into a court’s reluctance to rely
19
     upon cases interpreting the FLSA, when interpreting the more
20
     stringent requirements in the CLC.     Whether the state laws are
21
     “similar,” as that term is reasonably interpreted in the context
22
     of the Policy, requires analysis of whether the CLC provisions
23
     raised in the Gonzalez action have characteristics in common (are
24
     “similar”) with provisions in the FLSA.
25
26
                2.    First Cause of Action for Unpaid Minimum Wage.
27
          The first cause of action in the Gonzalez complaint alleges
28

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 1   that CDI failed to pay plaintiffs a minimum wage as required

 2   under CLC §§ 1197, 1194 and 1194.2.     CLC § 1197 states: “[t]he

 3   minimum wage for employees fixed by the commission is the minimum

 4   wage to be paid to employees, and the payment of a less wage than

 5   the minimum so fixed is unlawful.”     With respect to overtime, the

 6   FLSA provides in pertinent part:

 7             Every employer shall pay to each of his employees who
               in any workweek is engaged in commerce or in the
 8             production of goods for commerce, or is employed in an
               enterprise engaged in commerce or in the production of
 9             goods for commerce, wages at the following rates...

10   29 U.S.C. § 206.

11        RSUI argues that because “the FLSA and its California

12   counterpart both provide for the payment of a minimum wage,” the

13   statutes are “‘similar’ if not nearly identical,” triggering

14   Exclusion 4.   Doc. 10 at 13.

15        CDI rejoins that, although both the FLSA and the CLC contain

16   provisions that deal with minimum wage, there are significant

17   differences between the approach taken in both bodies of law.

18   CDI again cites Armenta v. Osmose, Inc., 135 Cal. App. 4th at

19   324, which concerned the method to be used in calculating whether

20   a minimum wage violation had taken place.      The employer in

21   Armenta argued that the court should apply the “averaging

22   formula,” a method of wage calculation used by a numerous federal

23   courts in other jurisdictions to assess minimum wage violations

24   under the FLSA.    Id. at 322.

25        The Armenta court concluded that, although “California

26   courts have long recognized that California’s wage laws are

27   patterned on federal statutes and that authorities construing

28   those federal statutes provide persuasive guidance to state

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 1   courts,” id. at 322, cases interpreting the FLSA are of little

 2   assistance when evaluating provisions of California law that

 3   provide greater protection to workers, id. at 323.       In reaching

 4   this conclusion, Armenta reasoned that, “the minimum wage

 5   provisions of the FLSA differ significantly from California's

 6   minimum wage law.”    Id.   Specifically, while the FLSA, “requires

 7   payment of minimum wage to employees who ‘in any work week’ are

 8   engaged in commerce,” CLC § 1194(a) provides that, “any employee

 9   receiving ‘less than the legal minimum wage’ is entitled to

10   recover the unpaid balance of the ‘full amount’ owed.”        Id.    “A

11   review of [California’s] labor statutes reveals a clear

12   legislative intent to protect the minimum wage rights of

13   California employees to a greater extent than federally.”           Id. at

14   324.    Therefore, “[w]hile the averaging method utilized by the

15   federal courts ... may be appropriate when considered in light of

16   federal public policy, it does not advance the policies

17   underlying California’s minimum wage law and regulations.”          Id.

18          Armenta is distinguishable, because it concerned whether and

19   to what extent California courts interpreting and applying the

20   CLC should rely on federal precedent interpreting and applying

21   less protective provisions in the FLSA.      Here, in contrast, the

22   question is whether the CLC provisions concerning minimum wage

23   have characteristics in common with the parallel FLSA provisions.

24   They do.    RSUI’s motion to dismiss is GRANTED as to coverage for

25   the First Cause of Action in Gonzalez WITHOUT LEAVE TO AMEND.

26
27               3.   Second Cause of Action for Unpaid Overtime Wages.

28          The second cause of action in the Gonzalez case alleges that

                                       27
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 1   CDI did not pay regular and overtime wages in violation of CLC §§

 2   200, 204, 500, 510, 512, and 1194, as well as section 3 of

 3   Industrial Welfare Commission (“IWC”) Wage Order 8.8       CLC § 200

 4   defines “wages,” while CLC § 204 provides for semi-monthly

 5   payments of wages earned.    CLC §§ 500 and 510 provide for the

 6   payment of overtime wages for any hours worked over 8 hours a day

 7   and 40 hours per week.    Section 3 of IWC Wage Order 8 mirrors the

 8   CLC provisions.

 9        The FLSA counterpart to the aforementioned state statutes

10   provides in pertinent part:

11             Except as otherwise provided in this section, no
               employer shall employ any of his employees who in any
12             workweek is engaged in commerce or in the production of
               goods for commerce, or is employed in an enterprise
13             engaged in commerce or in the production of goods for
               commerce, for a workweek longer than forty hours unless
14             such employee receives compensation for his employment
               in excess of the hours above specified at a rate not
15             less than one and one-half times the regular rate at
               which he is employed.
16
     29 U.S.C. § 207.
17
          RSUI argues that the FLSA and its California counterpart are
18
     “similar,” because “both provide for the payment of overtime
19
     wages, with the only difference [in] the calculation of when
20
     overtime hours accrue.”   Doc. 10 at 14.     RSUI further emphasizes
21
     that the two sets of provisions “support the identical purpose,
22
     to compensate employees for hours worked in excess of a certain
23
     amount of hours worked, whether it be in excess of 40 hours in a
24
25
          8
               The caption of the second cause of action indicates
26   that it is based upon CLC §§ 200, 204, 221, 223, 226.7, 500, 510,
27   512, and 1194, as well as Wage Order 8. However, the body of the
     cause of action only references Labor Code §§ 200, 204, 500, 510,
28   512, 1194 and section 3 of Wage Order 8.

                                       28
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 1   week or 8 hours in a day.”    Id.

 2        CDI, not surprisingly, focuses on the differences between

 3   the state and federal overtime requirements, the most notable of

 4   which is the California requirement that, “[a]ny work in excess

 5   of eight hours in one workday ... shall be compensated at the

 6   rate of no less than one and one half times the regular rate of

 7   pay for an employee,” regardless of how many hours the employee

 8   works during the work week.    CLC § 510.     CDI also correctly

 9   points out that California’s overtime law further distinguishes

10   itself from the FLSA’s overtime provisions by requiring that,

11   “[a]ny work in excess of twelve hours in one day shall be

12   compensated at the rate of no less than twice the regular rate of

13   pay for an employee.”   Id.   Moreover, California requires that an

14   employee who works seven consecutive days must be compensated at

15   a rate of one and one half times the regular rate of pay for the

16   first eight hours worked on the seventh day of work in any one

17   workweek, and twice the rate of pay for work thereafter.        Id.

18        Finally, CDI emphasizes the fact that the language of CLC

19   § 510 has led to a significant amount of litigation regarding the

20   proper interpretation of the term “hours worked.”       This term was

21   at issue in Morillion, 22 Cal. 4th 575, where a group of

22   agricultural employees sued their employer to recover

23   compensation for time spent commuting to and from the employer’s

24   fields on employer provided buses.       The employees alleged that

25   the time spent commuting on the employers’ buses constituted

26   “hours worked” for purposes of calculating their overtime pay

27   under Industrial Wage Commission Order 14-80.       The employer

28   argued that federal caselaw applying FLSA provided guidance.          The

                                         29
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 1   FLSA, unlike Wage Order 14-80, does not contain a definition of

 2   the term “hours worked.”    Id. at 588.

 3        Morillion rejected the employer’s argument, concluding that

 4   “the federal statutory scheme, which differs substantially from

 5   the state scheme, should be given no deference.”       Id.   Morillion

 6   criticized the appellate court’s assessment of the similarity of

 7   the federal and state overtime statutes:

 8              [T]he Court of Appeal determined that “[t]he federal
                statutory scheme is not identical to the California
 9              scheme but the thrust of the laws is similar.” Absent
                from this determination, however, is any analysis of
10              what aspect or characteristic of these two extensive
                statutory schemes make their “thrust[s] ... similar.”
11              In determining how much weight to give federal
                authority in interpreting a California wage order,
12              courts are cautioned to make this comparative analysis
                (citation omitted), which we undertake here. First, we
13              recognize that the FLSA does not include an express
                definition of “hours worked,” except “in the form of a
14              limited exception for clothes changing and wash up
                time” under 29 [U.S.C.] § 203(o).
15
     Id. (emphasis added).    Morillion further reasoned
16
                In discussing federal authority, [] the Court of Appeal
17              failed to compare the federal [regulatory] definition
                of “hours worked” to the state definition under Wage
18              Order No. 14-80. While one of our lower courts has
                recognized the “parallel” nature of the federal and
19              state definitions of “hours worked” the DLSE has
                underscored the substantial differences between the
20              federal and state definitions in numerous advice
                letters.
21
     Id. at 590.   The Morillion Court reasoned that, its “departure
22
     from the federal authority is entirely consistent with the
23
     recognized principle that state law may provide employees greater
24
     protection than the FLSA...,” and concluded “that where the IWC
25
     intended the FLSA to apply to wage orders, it has specifically so
26
     stated.”   Id. at 592.
27
          CDI argues that Morillion provides guidance in this case
28

                                       30
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 1   because IWC Wage Order No. 8, which governs the compensation

 2   scheme for those employees that filed the Underlying Action, does

 3   not state that it intended the FLSA to apply to Wage Order No.

 4   8’s definition of “hours worked.”      Doc. 17 at 15.   Therefore,

 5   according to CDI’s argument, a policyholder whose employees fall

 6   within the scope of IWC Wage Order No. 8 “would have good reason

 7   to interpret the Wage Order and its compensation scheme as

 8   completely different from any provision of the FLSA.”        Id.

 9        CDI overreaches.    Morillion concerns whether and to what

10   extent a court should rely upon precedent from the law of one

11   jurisdiction to interpret the law of another.      It has no direct

12   bearing on the interpretation and application of the policy

13   language in this case.    Morillion does serve to corroborate the

14   general assertion that there are distinctions between the FLSA’s

15   overtime provisions and those contained in the CLC, but this is

16   undisputed.   The inquiry is whether the CLC overtime provisions

17   “have characteristics in common” with the FSLA.       CDI offers no

18   persuasive reason to answer this question in the negative.9        Both

19
          9
               CDI’s also discusses the differences between the FLSA
20   and the CLC’s interpretations of the term “regular rate of pay.”
21   The FLSA provides that employers must pay at least one and a half
     times the employee’s “regular rate” for hours worked in excess of
22   40 hours per week. 29 U.S.C. § 207. In contrast, CLC § 510
     calculates the “regular rate of pay” by dividing total
23   compensation by the statutory maximum of 40 hours.
24        The net result of the difference is that calculations under
     the CLC tend to produce a significantly higher “regular rate,”
25   and a correspondingly higher overtime rate as well. Overall,
     this difference can cause a non-exempt salaried employee whose
26   “regular rate of pay” is calculated pursuant to CLC § 510 to earn
27   37% more than a non exempt salaried employee earning the same
     weekly pay and working the same amount of overtime whose “regular
28   rate” is calculated by the FSLA method. See California Practice

                                       31
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 1   statutes seek to assure that employees are paid overtime for work

 2   hours which exceed a defined work period.      The policy exclusion

 3   seeks to eliminate coverage for claims arising from an employer’s

 4   failure to pay wages for “overtime” worked in accordance with

 5   federal or similar state laws, which is entirely within the

 6   employer’s control.   It is irrelevant that the period of overtime

 7   worked and amounts of compensation may differ.

 8        RSUI’s motion to dismiss is GRANTED as to coverage for the

 9   Second Cause of Action in Gonzalez WITHOUT LEAVE TO AMEND.

10
11             4.   Third and Fourth Causes of Action for Failure to
                    Provide Meal and Rest Periods or Pay an Additional
12                  Hour of Wages.

13        The third and fourth causes of action in Gonzalez allege

14   that CDI failed to provide meal and rest periods or pay an

15   additional hour of wages based on CLC §§ 226.7 and 512, and

16   Section 11 of IWC Wage Order 8.     CLC § 226.7(b) provides:

17             If an employer fails to provide an employee a meal
               period or rest period in accordance with an applicable
18             order of the [IWC], the employer shall pay the employee
               one additional hour of pay at the employee’s regular
19             rate of compensation for each work day that the meal or
               rest period is not provided.
20
     CLC § 512 governs the length of meal periods and how many hours
21
     must be worked to entitle an employee to a meal period.        Section
22
     11 of IWC Wage Order 8 mirrors these provisions of the CLC.        The
23
24
     Guide: Employment Litigation, 11:934-935. These differences do
25   not negate the fact that the two bodies of law have common
     characteristics, making them “similar” for purposes of Exclusion
26   4, i.e., they make employers liable for not compensating overtime
27   in accordance with the law requiring payment of wages as defined
     by applicable laws of any relevant jurisdiction.
28

                                       32
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 1   California Supreme Court has characterized the additional hour of

 2   pay required by CLC § 226.7 a “premium wage intended to

 3   compensate an employee, not a penalty.”      Murphy v. Kenneth Cole

 4   Productions, Inc., 40 Cal. 4th 1094, 1114 (2007).       The third and

 5   fourth causes of action in Gonzalez specifically seek the premium

 6   wage of one (1) hour of compensation for every meal and rest

 7   period an employee was not provided.

 8        As discussed above, the FLSA requires that employers

 9   compensate employees with at least a minimum wage along with

10   time-and-a-half for hours worked beyond forty hours in a week.

11   See 29 U.S.C. §§ 206, 207.    The implementing regulations expand

12   upon the relationship between payment of wages and meal breaks.

13   As it relates to the allegations in Gonzalez, the implementing

14   regulations require that employees be compensated for all rest

15   periods.   29 C.F.R. §§ 785.18-19.

16        RSUI argues that these two bodies of law should be deemed

17   “similar” because “[t]he purpose of these statutes are identical,

18   i.e., to ensure that employers provide their employees with meal

19   and rest breaks.”   Doc. 10 at 16.

20        CDI argues that there are no federal counterparts to the CLC

21   provisions addressing meal and rest periods and that, therefore,

22   the FLSA is not “similar” to these provisions of the CLC.        CDI

23   correctly points out that nothing in the FLSA or its implementing

24   regulations requires an employer to provide meal periods.        29

25   C.F.R. § 785.19(a) simply requires that an employee who is not

26   relieved of all duties while eating his or her meal be

27   compensated for such time at the regular rate.       This is a

28   material difference from Labor Code 512(a), which requires a meal

                                       33
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 1   period:

 2              An employer may not employ an employee for a work
                period of more than five hours per day without
 3              providing the employee with a meal period of not less
                than 30 minutes, except that if the total work period
 4              per day of the employee is no more than six hours, the
                meal period may be waived by mutual consent of both the
 5              employer and employee. An employer may not employ an
                employee for a work period of more than 10 hours per
 6              day without providing the employee with a second meal
                period of not less than 30 minutes, except that if the
 7              total hours worked is no more than 12 hours, the second
                meal period may be waived by mutual consent of the
 8              employer and the employee only if the first meal period
                was not waived.
 9
     CDI also correctly points out that there is no FLSA counterpart
10
     to CLC § 226.7, which requires that:
11
                If an employer fails to provide an employee a meal
12              period or rest period in accordance with an applicable
                order of the Industrial Welfare Commission, the
13              employer shall pay the employee one additional hour of
                pay at the employee's regular rate of compensation for
14              each work day that the meal or rest period is not
                provided.
15
     While the FLSA allows an employer to require an employee to
16
     remain on the employer’s premises during his or her meal period,
17
     the CLC contains no such permissive language.
18
          Finally, while the FLSA does not require an employer to
19
     provide employees with rest periods, implementing regulations for
20
     the CLC require employers to authorize 10 minutes of paid rest
21
     for every four hours worked.    8 C.C.R. § 11010, et seq.
22
     California also requires payment of an additional hour of wages
23
     at the employee’s regular rate for each missed rest period.        CLC
24
     § 227.6.
25
          Although the expanded state meal and rest benefits are not
26
     identical to the FLSA, as no such expanded benefits are
27
     prescribed by federal law, both the FLSA and state law provide
28

                                       34
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 1   some form of meal and rest benefits.     The benefits are to be paid

 2   by and are entirely within the control of the employer, even if

 3   the amounts are calculated differently.      The CLC provisions

 4   relied upon in the Third and Fourth Causes of action have

 5   characteristics in common with the corresponding FLSA provisions

 6   and are therefore “similar.”

 7        RSUI’s motion to dismiss is GRANTED as to coverage for the

 8   Third and Fourth Causes of Action in Gonzalez WITHOUT LEAVE TO

 9   AMEND.

10             5.      Fifth Cause of Action for Failure to Reimburse
                       Employees for Costs Related to Uniforms.
11
          The fifth cause of action in Gonzalez alleges that CDI
12
     failed to reimburse employees for costs incurred to acquire
13
     and/or maintain company-required uniforms in violation of CLC §
14
     2802 and Section 9 of Wage Order 8.     CLC § 2802(a), provides in
15
     pertinent part:
16
               An employer shall indemnify his or her employee for all
17             necessary expenditures or losses incurred by the
               employee in direct consequence of the discharge of his
18             or her duties...

19   Section 9 of Wage Order 8 provides that when uniforms are

20   required, they shall be provided and maintained by the employer.

21   “Payment to employees for work uniforms is a part of the

22   employees’ compensation and should be considered like any other

23   payment of wages, compensation or benefits.”      In Re Work Uniform

24   Cases, 133 Cal. App. 4th 328, 337-38 (2005).

25        The FLSA counterpart to the aforementioned state statutes is

26   found at 29 U.S.C. § 207(e)(2), which states in pertinent part:

27             As used in this section, the “regular rate” at which an
               employee is employed shall be deemed to include all
28             remuneration for employment paid to, or on behalf of,

                                       35
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 1             the employee, but shall not be deemed to include ...
               other expenses, incurred by an employee in the
 2             furtherance of his employer’s interests and properly
               reimbursable by the employer...
 3
     29 U.S.C. § 207 (emphasis supplied).     This language excludes from
 4
     the calculation of a “regular rate” any expenditure (e.g., the
 5
     purchase of employee uniforms) by an employee that is properly
 6
     reimbursable by the employer.    The FLSA only requires an employer
 7
     to reimburse the employee for furnishing or maintaining clean
 8
     uniforms if failure to do so would reduce their wages below the
 9
     minimum wage.   See Hodgson v. Newport Motel, Inc., dba Newport
10
     Beach Motel, 87 L.C. P 33,830, 1979 WL 1975 (S.D. Fla. 1979); see
11
     also Marshall v. Root's Restaurant, Inc., 667 F.2d 559 (6th Cir.
12
     1982) (restaurant violated FLSA by requiring waitresses to
13
     purchase uniform as a condition of employment, deducting cost of
14
     uniforms from first week’s wages, and thereby reducing wages
15
     below the minimum wage rate).
16
          Unlike the minimum wage and overtime provisions, it would
17
     not be reasonable to find that these statutory provisions are
18
     “similar.”   While the CLC requires employers to reimburse for
19
     uniform expenses whenever uniforms are required, the FLSA only
20
     requires such reimbursement if not doing so would reduce wages
21
     below the minimum wage.    Essentially, the FLSA provision is
22
     designed to prevent various ways employers might undermine the
23
     minimum wage provisions.    The CLC is a stand-alone provision, the
24
     purpose of which is “to protect employees from suffering expenses
25
     in direct consequence of doing their jobs.”      People v. Short, 160
26
     Cal. App. 4th 899, 905 (2008).    The provisions accomplish
27
     different statutory purposes.    The federal law is to prevent
28

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 1   violation of the minimum wage law.      The state law imposes the

 2   cost of any work-required uniform on the employer.        CLC § 2808

 3   finds no close parallel in the FLSA.      The motion to dismiss is

 4   DENIED as to the applicability of Exclusion 4 to the Fifth Cause

 5   of Action in Gonzalez.

 6
 7              6.   Sixth Cause of Action for Failure to Comply with
                     Itemized Wage Statement Requirements.
 8
          The sixth cause of action in Gonzalez alleges that CDI
 9
     failed to comply with the itemized wage statement provisions
10
     contained in CLC §§ 226, 1174(d), and 1174.5, as well as Section
11
     7 of Wage Order 8.10   CLC § 226(a) provides in pertinent part
12
     that the employer shall provide their employees with:
13
                an accurate itemized statement in writing showing (1)
14              gross wages earned, (2) total hours worked by the
                employee..., (3) the number of piece-rate units earned
15              and any applicable piece rate if the employee is paid
                on a piece-rate basis, (4) all deductions, provided
16              that all deductions made on written orders of the
                employee may be aggregated and shown as one item, (5)
17              net wages earned, (6) the inclusive dates of the period
                for which the employee is paid, (7) the name of the
18              employee and his or her social security number..., (8)
                the name and address of the legal entity that is the
19              employer, and (9) all applicable hourly rates in effect
                during the pay period and the corresponding number of
20              hours worked at each hourly rate by the employee.

21   CLC § 226(e) provides penalties for violations of § 226(a) that

22   include:

23
24        10
               The Sixth Cause of Action also cites CLC §§ 226.6 and
25   1175, which provide that employers that violate the wage
     statement and payroll records requirements may be charged with a
26   misdemeanor. It is not at all clear how the Gonzalez plaintiffs
27   have standing to enforce these criminal provisions of the CLC.
     They provide no bases for the civil causes of action raised in
28   the Underlying Action.

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 1               fifty dollars ($50) for the initial pay period in which
                 a violation occurs and one hundred dollars ($100) per
 2               employee for each violation in a subsequent pay period,
                 not exceeding an aggregate penalty of four thousand
 3               dollars ($4,000), and is entitled to an award of costs
                 and reasonable attorney's fees.
 4
     Section 7 of IWC Wage Order 8 mirrors CLC § 226.
 5
            CLC § 1174(d) requires employers to maintain:
 6
                 payroll records showing the hours worked daily by and
 7               the wages paid to, and the number of piece-rate units
                 earned by and any applicable piece rate paid to,
 8               employees employed at the respective plants or
                 establishments.
 9
     CLC § 1174.5 provides for a civil penalty of five hundred dollars
10
     ($500) in connection with violations of the payroll records
11
     requirement.
12
            RSUI points out that the FLSA’s implementing regulations
13
     require employers to maintain records of hours worked, rate of
14
     pay, total earnings, deductions and date of payment.       29 C.F.R.
15
     § 516.2.    RSUI appears to concede that there is no federal
16
     requirement concerning the provision of wage statements.
17
     Nevertheless, RSUI argues that “the unifying purpose of these
18
     statutes is unmistakable,” and that “[t]he California and federal
19
     statutes in this regard are plainly ‘similar’ as a matter of
20
     law.”    Doc. 10 at 20.   RSUI attempts to stretch Exclusion 4 too
21
     far.    The Sixth Cause of Action in Gonzalez directly concerns
22
     CDI’s alleged failure to provide wage statements.       Neither the
23
     FLSA nor its implementing regulations require such wage
24
     statements.    The parties to not address whether an employee can
25
     state a private cause of action to enforce the penalty provisions
26
     of the statute.    The motion to dismiss is DENIED as to the
27
     application of Exclusion 4 to the Sixth Cause of Action in
28

                                       38
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 1   Gonzalez.   The motion to dismiss is DENIED.

 2
 3               7.    Seventh Cause of Action for Failure to Pay Wages
                       Due at Termination.
 4
          The seventh cause of action in Gonzalez alleges that CDI
 5
     failed to pay wages due at termination, a claim founded upon CLC
 6
     §§ 201, 202, and 203.    CLC § 201 provides in pertinent part:
 7
                 If an employer discharges an employee, the wages earned
 8               and unpaid at the time of discharge are due and payable
                 immediately.
 9
     CLC § 202 requires that an employee’s wages shall become due and
10
     payable not later than 72 hours after quitting his or her
11
     employment, while § 203 provides for a thirty-day penalty for any
12
     willful violations of sections 201 or 202.
13
          RSUI argues that the FLSA counterpart to these provisions is
14
     found at Title 29 U.S.C., section § 206, which states in
15
     pertinent part:
16
                 Every employer shall pay to each of his employees who
17               in any workweek is engaged in commerce or in the
                 production of goods for commerce, or is employed in an
18               enterprise engaged in commerce or in the production of
                 goods for commerce, wages at the following rate...
19
     29 U.S.C. § 206.    RSUI fails to explain how this provision
20
     requires payment of wages within a certain timeframe upon
21
     termination.     Again, where neither the FLSA nor its implementing
22
     regulations address the type of violation alleged in the
23
     Underlying Action, it is not reasonable to find that the relevant
24
     CLC provision is “similar” to any provision in the FLSA.        The
25
     motion to dismiss is DENIED as to the application of Exclusion 4
26
     to the Sixth Cause of Action in Gonzalez.
27
28

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 1        D.   Applicability of Exclusion 7.

 2        RSUI also asserts Exclusion 7 as a basis for denying

 3   coverage for all of the claims in the Underlying Action.

 4             1.     Estoppel.

 5        As a threshold matter, CDI asserts that RSUI should be

 6   estopped from asserting Exclusion 7 as a basis for denying

 7   coverage as Exclusion 7 was not mentioned in the insurer’s final

 8   denial of coverage letter.    To demonstrate estoppel, “(1) []he

 9   party to be estopped must know the facts; (2) he must intend that

10   his conduct shall be acted upon, or must so act that the party

11   asserting the estoppel had the right to believe that it was so

12   intended; (3) the party asserting the estoppel must be ignorant

13   of the true state of facts; and, (4) he must rely upon the

14   conduct to his injury”. Spray,     Gould & Bowers v. Assoc. Intern.

15   Ins. Co., 71 Cal. App. 4th 1260, 1262 (1990).      Application of

16   estoppel in the insurance context typically arises from some

17   affirmative, misleading conduct on the part of the insurer.

18   Spray, 71 Cal. App. 4th at 1268.       Absent such affirmative

19   conduct, estoppel may arise from silence when the party has a

20   duty to speak, such as where a legal obligation requires

21   disclosure.    Id.

22        The California Fair Claims Practices Regulations, 10 Cal.

23   Code Regs. (“CCR”) § 2695.1, et seq., set forth “minimum

24   standards for the settlement of claims which when violated

25   knowingly or on a single occasion or performed with such

26   frequency and to indicate a general practice, shall constitute an

27   unfair claims settlement practice ....”       10 CCR § 2695.1(a)(1).

28   An insurer violates the fair claims practices and regulations

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 1   whenever it “knowingly” commits an act which breaches one of the

 2   regulations.   “Knowingly committed” means “performed with actual,

 3   implied or constrictive knowledge, including but not limited to,

 4   that which is implied by operation of law.”      10 CCR § 2695.2(1).

 5   10 CCR § 2695.7(b)(1) provides:

 6               Where an insurer denies or rejects a first party claim
                 in whole or in part, it shall do so in writing and
 7               shall provide to the claimant a statement listing all
                 basis for such rejection or denial and the factual and
 8               legal basis for each reason given for such rejection or
                 denial which is then within the insurer’s knowledge.
 9               Where an insurer’s denial of a first party claim, in
                 whole or in part, is based on a specific policy
10               provision, condition or exclusion, the written denial
                 shall include reference thereto and provide an
11               explanation of the application of the provision,
                 condition or exclusion to the claim. Every insurer that
12               denies or rejects a third party claim in whole or in
                 part, or disputes liability or damages shall do so in
13               writing.

14   Failure to comply with the minimum standards set forth in the

15   regulations provides a basis for a finding that an insurer failed

16   to abide by its duty to disclose for purposes of the estoppel

17   doctrine.   Spray, 71 Cal. App. 4th 1260; Neufeld v. Balboa Ins.

18   Co., 84 Cal. App. 4th 759 (2000).

19        CDI asserts that RSUI violated the requirements of 10 CCR §

20   2695.7(b)(1) because it did not assert Exclusion 7 in its

21   response to CDI’s request for reconsideration.       Complaint at ¶¶

22   11, 14.   RSUI rejoins that, 10 CCR § 2695.7(b)(1) explicitly

23   differentiates between insurer requirements for first party

24   claims as opposed to third party claims, requiring specificity in

25   denial only for first party claims.     RSUI asserts that the claims

26   in this case are third party claims, citing Garvey v. State Farm

27   Fire & Casualty Co., 48 Cal. 3d 395 (1989), for the general

28   definitions of the relevant terms:

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 1             If the insured is seeking coverage against loss or
               damage sustained by the insured, the claim is first
 2             party in nature. If the insured is seeking coverage
               against liability of the insured to another, the claim
 3             is third party in nature.

 4   Id. at 399 & n.2

 5        However, the California Fair Claims Practices Regulations

 6   specifically define a “first party claimant” as “any person

 7   asserting a right under an insurance policy as a named insured,

 8   other insured or beneficiary under the terms of that insurance

 9   policy....”   10 CCR § 2695.2(f).       Here, by requesting coverage

10   under the Policy, CDI is a “first party claimant,” entitling it

11   to a denial that explicitly explains which exclusions apply under

12   10 CCR § 2695.7(b)(1).

13        But, this only establishes RSUI’s failure to disclose.         To

14   establish estoppel, CDI must also demonstrate that it reasonably

15   relied to its detriment on the assertions RSUI made in its final

16   denial of coverage.    The Complaint contains no relevant

17   allegations, and RSUI argues that CDI cannot allege reasonable

18   detrimental reliance because RSUI denied coverage from the outset

19   on alternative grounds.    At oral argument, CDI requested an

20   opportunity to amend its complaint, asserting that it could,

21   consistent with Federal Rule of Civil Procedure 11, allege the

22   remaining elements of estoppel.11       This request is GRANTED.

23
          11
24             CDI also appears to assert that RSUI’s failure to
     advance Exclusion 7 in its final denial of coverage decision
25   constitutes a waiver of its rights to do so in this litigation.
     CDI does not explain the basis of its waiver theory. To
26   demonstrate waiver, the insured bears the burden of proof to
27   demonstrate that the carrier intentionally relinquished a right
     or that the carrier’s acts are so inconsistent with an intent to
28   enforce the right as to induce a reasonable belief that such

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 1              2.   Application of Exclusion 7.

 2        As estoppel does not bar RSUI’s assertion of Exclusion 7 as

 3   a matter of law, the inquiry turns to whether Exclusion 7 here

 4   applies.   Exclusion 7 provides that the Insurer shall not be

 5   liable to make any payment for “Loss” in connection with any

 6   “Claim” made against the “Insured”:

 7              7. Brought by or on behalf of any Insured, except:

 8                                    ***

 9                   b. An Employment Practices Claim brought by an
                     Insured Person....
10
          It is not disputed that both CDI and the plaintiffs in the
11
     Gonzalez action, all of whom are employees or former employees of
12
     CDI, are “Insureds,” as “Employees” are deemed to be Insureds
13
     along with the Policyholder.    Accordingly, Exclusion 7 applies
14
     here unless the Employment Practices Claims exception is
15
     triggered.
16
          “Employment Practices Claim” is defined as “any Claim
17
     alleging an Employment Practices Wrongful Act.”       An “Employment
18
19
     right has been relinquished. Waller v. Truck Insurance Exchange,
20   Inc., 11 Cal.4th 1, 33-34 (1995). The Waller Court held:
21
                holding that an insurer waives defenses not asserted in
22              its initial denial of a duty to defend would be
                inconsistent with established waiver principles by
23              erroneously implying an intent to relinquish contract
24              rights where no such intent existed. Such a conclusion
                would contradict the holdings of the majority of
25              California and sister-state cases addressing the waiver
                issue.
26
27   Id. at 33. CDI fails to explain how its waiver theory can be
     reconciled with the holding in Waller.
28

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 1   Practices Wrongful Act” is defined at Section II(F) of the Policy

 2   as any actual or alleged:

 3             1.   Wrongful dismissal, discharge or termination
               (either actual or constructive) of employment,
 4             including breach of an implied employment contract;

 5             2.   Employment related harassment (including but not
               limited to sexual harassment);
 6
               3.   Employment-related discrimination (including but
 7             not limited to discrimination based on age, gender,
               race, color, national origin, religion, sexual
 8             orientation or preference, pregnancy or disability);

 9             4.    Employment-related retaliation;

10             5.   Employment-related misrepresentation to an
               Employee or applicant for employment with the Insured
11             organization;

12             6.   Libel, slander, humiliation, defamation or
               invasion of privacy (solely when employment related);
13             7.   Wrongful failure to promote;

14             8.   Wrongful deprivation of career opportunity,
               wrongful demotion or negligent Employee evaluation,
15             including giving defamatory statements in connection
               with an Employee reference;
16
               9.    Employment related wrongful discipline;
17
               10.   Failure to grant tenure or practice privileges;
18
               11. Failure to provide or enforce adequate and
19             consistent organization policies or procedures relating
               to employment;
20
               12. Violations of the following federal laws (as
21             amended) including all regulations promulgated
               thereunder: a. Family and Medical leave Act of 1993; b.
22             Americans with Disabilities Act of 1992 (ADA); c. Civil
               Rights Act of 1991; d. Age Discrimination in Employment
23             Act of 1967 (ADEA), including the Older Workers Benefit
               Protection Act of 1990; or e. Title VII of the Civil
24             Rights Law of 1964 (as amended) and 42 U.S.C. Section
               1983, as well as the Pregnancy Discrimination Act of
25             1978;

26             13. Violation of an Insured Person's civil rights
               relating to any of the above; or
27
28

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 1              14. Negligent hiring, retention, training or
                supervision, infliction of emotional distress, failure
 2              to provide or enforce adequate or consistent
                organizational polices and procedures, or violation of
 3              an individual's civil rights, when alleged in
                conjunction with respect to any of the foregoing items
 4              1 through 13.

 5   Id.

 6         CDI argues that the allegations in the Gonzalez complaint,

 7   namely that employees were denied mandated meal periods, rest

 8   periods, reimbursement for employee uniforms, and wages due at

 9   termination, involve “Employment Practices Wrongful Acts” because

10   they “reflect employment misrepresentations to employees that

11   Plaintiff would comply with the law regarding such benefits,”

12   and/or “involve a failure to enforce adequate or consistent

13   organizational polices relating to employment.”       Doc. 17 at 25.

14   CDI relies on the “rule” that “insuring agreements are to be

15   interpreted broadly in favor of the policyholder.”       Id.

16         RSUI disputes CDI’s statement of the applicable legal rule,

17   correctly pointing out that while ambiguities in a policy of

18   insurance are to be construed in favor of the insured, “some

19   actual or apparent ambiguity must be present before the rule

20   comes into play,” citing Johnson v. Continental Ins. Co., 202

21   Cal. App. 3d 477, 481 (1988).    Such ambiguity “cannot be based

22   upon a strained interpretation of the policy language.”

23   Producers Dairy Delivery Co. v. Sentry Ins. Co., 41 Cal. 3d 903,

24   912 (1986).

25         CDI’s assertion that the CLC violations alleged in the

26   Gonzalez complaint should be viewed as “employment-related

27   misrepresentations” is a strained interpretation of the Policy

28   language in light of the facts presented.      The Gonzalez action is

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 1   limited to allegations based upon the failure to pay wages and

 2   related benefits.   The Gonzalez complaint does not allege any

 3   misrepresentations by CDI, nor is misrepresentation a required

 4   element of any of the Gonzalez causes of action, all of which

 5   relate to wage and hour conditions of employment.

 6        The same conclusion applies to CDI’s argument that the

 7   Gonzalez allegations involve failures “to enforce adequate or

 8   consistent organization[al] polices relating to employment.”        The

 9   underlying complaint does not mention or concern internal

10   organizational policies at CDI.     CDI’s interpretation of this

11   language in the exception to Exclusion 7 is without limitation,

12   as the Exclusion 7 exception would be triggered for any claims

13   brought by employees against CDI, because any allegedly wrongful

14   act by an employer vis-a-vis an employee could be the subject of

15   an internal organizational policy.      This is not what the Policy

16   intended, or it would have included a blanket exception from

17   Exclusion 7 for claims brought by Employees against an Insured.

18        The Gonzalez Complaint contains no allegations related to

19   any misrepresentations, failures to provide and/or enforce

20   company rules, negligence, or civil rights violations.        The

21   exception for “Employment Practices Wrongful Acts” provided under

22   Exclusion 7 does not here apply.       Accordingly, Exclusion 7 bars

23   coverage for all of the CLC claims in the Gonzalez lawsuit, as

24   they are between Insureds and do not qualify as “Employment

25   Practices Wrongful Acts.”

26        RSUI’s motion to dismiss is GRANTED as to coverage for all

27   of the CLC claims in the Gonzalez lawsuit WITH LEAVE TO AMEND.

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 1        E.    Eighth Cause of Action for Violation of the Unfair
                Competition Law.
 2
          The eighth cause of action in Gonzalez alleges that CDI
 3
     violated the Unfair Competition Law (“UCL”) as a result of the
 4
     failure to comply with various provisions of the CLC, as alleged
 5
     in the Gonzalez complaint.    The UCL “borrows” violations from
 6
     other laws by making them independently actionable as unfair
 7
     competitive practices.    Korea Supply Co. v. Lockheed Martin
 8
     Corp., 29 Cal. 4th 1134, 1144 (2003).
 9
          Assuming that RSUI is absolved of the responsibility to
10
     provide coverage for each of the other causes of action in the
11
     Gonzalez lawsuit, RSUI argues that CDI is unable to state a claim
12
     for declaratory relief as to coverage for its UCL claim.
13
          CDI rejoins that because a UCL claim can be based on any
14
     number of underlying violations of law, it, as the policyholder,
15
     “could not have reasonably anticipated that claims under the UCL
16
     were ‘similar’ to the FLSA for purposes of Exclusion 4.”        Doc. 17
17
     at 18.    But, CDI ignores that any “Loss” due to the Gonzalez
18
     plaintiffs’ success on the UCL claim would necessarily result
19
     from the underlying CLC violations.     Under the UCL, “[p]revailing
20
     plaintiffs are generally limited to injunctive relief and
21
     restitution.”    Korea Supply, 29 Cal. 4th at 1144.     In addition,
22
     “an individual may recover profits unfairly obtained to the
23
     extent that these profits represent monies given to the defendant
24
     or benefits in which the plaintiff has an ownership interest.”
25
     Id. at 1148.    Either way, any money damages available under the
26
     UCL claim would be as a direct result of the underlying CLC
27
     violations.    CDI fails to explain why the Policy should cover
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 1   such losses simply because they are couched as a UCL claim.

 2            The UCL claim is excluded for the same reasons as the

 3   underlying claims are excluded under Exclusions 4 and 7.         RSUI’s

 4   motion to dismiss is GRANTED as to coverage for the UCL claim in

 5   the Gonzalez lawsuit, WITH LEAVE TO AMEND.

 6
 7                                V.   CONCLUSION

 8            For the reasons set forth above, RSUI’s motion to dismiss is

 9   GRANTED as specifically set forth above.       CDI shall have twenty

10   (20) days to amend its complaint in accordance with this

11   memorandum decision.

12
13   IT IS SO ORDERED.

14   Dated:     March 20, 2009               /s/ Oliver W. Wanger
     b2e55c                            UNITED STATES DISTRICT JUDGE
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